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1                    IN THE UNITED STATES DISTRICT COURT FOR
2                     THE MIDDLE DISTRICT OF NORTH CAROLINA
3
4
5            MAXWELL KADEL, et al.,             )
                                                )
6                           Plaintiffs,         )
                                                )   No. 1:19-cv-272-LCB-LPA
7                    V.                         )
                                                )
8            DALE FOLWELL, et al.,              )
                                                )
9                           Defendants.         )
             __________________________         )
10
11
12
                                      DEPOSITION
13                                         OF
                                     DALE FOLWELL
14
15                                  AUGUST 12, 2021
16
17                         THIS TRANSCRIPT IS NOT COMPLETE
                 PORTIONS OF THIS TRANSCRIPT AND/OR EXHIBITS
18             MAY BE DESIGNATED CONFIDENTIAL/ATTORNEYS EYES ONLY
               AFTER REVIEW OF TRANSCRIPT BY ATTORNEYS WITHIN 30
19              DAYS OF DATE OF DEPOSITION PER PROTECTIVE ORDER
20
21
22                        NORTH CAROLINA STATE HEALTH PLAN
                          3200 Atlantic Avenue, First Floor
23                             Raleigh, North Carolina
24
25        Reported by: Michelle Maar, RDR, RMR, FCRR

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1                 Q.      What are your responsibilities as Treasurer?

2                 A.      Well, there are lots.

3                 Q.      Let me rephrase that because I understand -- what

4         are your main responsibilities?

5                 A.      To put this in context, the, the State

6         Treasurer's Office of North Carolina, as of this week, is,

7         manages nearly a quarter of a trillion dollars.               That's

8         almost 250 million billion dollars.            And just the Pension

9         Plan is the 26th largest pool of public money in the entire

10        world.

11                        So I'm sometimes asked if I signed the one dollar

12        bill.        That's where people see the word treasurer.            And it's

13        an obvious question.         But I don't do that.       But we manage

14        one of the largest pools of that, those in the world.

15                        And to put that in context, that is 10 times

16        larger than the state budget that's being debated as we sit

17        here.

18                        So I would be glad to go down and answer your

19        question if I may.

20                Q.      Please do.

21                A.      Okay.   I would say that, that it includes the

22        State Pension Plan, which manages the pension assets for

23        nearly 1 out of 10 adult North Carolinians, those that

24        teach, protect, and otherwise serve, with nearly 900,000

25        participants.

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1                    That Pension Plan is considered one of the

2         best-funded pension plans in the United States.             I'm not

3         sure where you're from, but I can probably compare ours to

4         wherever you are from.

5                    And the Pension Plan has, as well-funded as it is,

6         which should give you a little bit of fear of how some of

7         these other pension plans are doing, as well-funded as we

8         are, it has tremendous headwinds.

9                    And most of these headwinds that I'll mention to

10        you are blessings.     Zero interest rates is a blessing when

11        you're investing in your life or buying a house or buying a

12        car or starting a business.        It's not a blessing for pension

13        plans.

14                   Increased life expectancies, that's obviously a

15        blessing on the face of it.

16                   When I was in high school in 1977, there were

17        about 300 people over the age of 90 who were getting a

18        pension check.    Last week, it was 7000 people over the age

19        of 90.

20                   And then somewhere along the way of the last 35

21        years, the minimum retirement age was taken out of the

22        Pension Plan.

23                   So this is not political or emotional, it's

24        mathematical -- especially for the certain life

25        expectancies.    We're now in the situation that, because

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1         people can retire when they're 50 years old, we have the

2         majority of our members who are going to be receiving more

3         retirement checks than paychecks.         And the plan was never

4         really designed for that.

5                    So all of our focus and the number one

6         responsibility has to do with my pledge to the participants

7         in these plans because of my fiduciary responsibility, which

8         includes being loyal and exercising a duty of care to

9         preserve, strengthen, but figure out how to sustain this

10        plan for this and the next generation of public service

11        workers.

12                   The Plan is paying out nearly 550 million dollars

13        gross every 30 days.      The amount of gross dollars leaving

14        the plan is twice as high as the state debt.            So it's kind

15        of a big deal and a big responsibility.

16                   The second is the Defined Contribution Plan, which

17        has over 15 billion dollars in it today.           Just this week, we

18        received two national awards.

19                   Both of these plans have recently been designated

20        being in the zero percentile -- which is where I spent most

21        of my school career, which is not a good thing.

22                   But when it comes to scoring it, the efficiency of

23        a Pension Plan, it's a great thing.

24                   And so the Defined Benefit Plan, as well as the

25        Defined Contribution Plan have, are getting national

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1         accolades for what we've tried to do to simplify these plans

2         and to cut expenses.

3                    The Defined Contribution Plan is made up of a 401,

4         457, and a 403.    And it, I think the 457 Plan is not as

5         large in total dollars as the California plan is, but it has

6         more enrollees.

7                    So when you go from the Pension Plan, the Defined

8     Contribution Plan, then the next level would be the State

9     Health Plan, which is the largest purchaser of healthcare in

10    North Carolina, and the State Pharmaceutical Plan, which is,

11    for public service workers, also the largest in North

12    Carolina.

13                   When I was sworn in as keeper of the public purse,

14        that was, I inherited a broke and broken State Health Plan.

15                   And the broke part is something that was brought

16        to my attention in 1993 actually, before -- if you can

17        believe it's been that long.

18                   And I'll be glad to explain why if you like.

19             Q.    Please do.

20             A.    A person that is considered by most around these

21        parts to be possibly the best banker in history is a fellow

22        by the name of John Medlin.

23                   Now, I'm sure I've cleaned John Medlin's toilets

24        at a gas station or I've pumped gas in his car or cooked

25        food for him at Mayberry's.        But I didn't know who he was.

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1              A.      The most important person in the whole place.

2              Q.      I will agree with you generally because most

3         executive assistants are.

4                      And we already know who Ms. Crabtree is, right?

5         We've talked about her.

6              A.      I don't dispute this timeline or this time stamp.

7         I'm just surprised that Sam Hayes was working here in

8         February of 2017, but that's what it says.

9                      I thought Blake stayed here until April or May of

10        that year.

11                     It's not here nor there -- I'm just -- I thought

12        Blake was here for several months as the interim General

13        Counsel, which means Sam would not have been working here.

14             Q.      Right.   And it may have been habit, I know people

15        type in e-mails after they --

16             A.      This person didn't even work for -- anyway,

17        mental curiosity.

18             Q.      Getting back to Exhibit 7 -- so Ms. Moon is

19        e-mailing you.

20             A.      Yes.

21             Q.      And the first line says you've asked several

22        times for a list of requirements associated with the Plan's

23        participation in the federal Retiree Drug Subsidy (RDS)

24        Program.

25                     Do you see that?

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1              A.     I do.

2              Q.     Why were you asking for a list of requirements

3         associated with the Plan's participation in the RDS

4         Program?

5              A.     I believe I was asking regarding matters that had

6         nothing to do with the basis of this case.

7                     That is, that, at that point, the previous

8         treasurer had flipped the PBM, prescription drug benefit

9         manager, on January 1, 2017 from Express Scripts to CVS

10        Caremark.

11                    So as you can imagine, when people have been,

12        retirees especially, have been on Express Script for many,

13        many years, that when they're flipping over to a new

14        manager, there's different tiering, there's different this,

15        there's different formulas, there's different all these

16        things that none of us like regarding drug costs or

17        figuring out what they pay for.

18                    I was asking this question specifically in

19        relation to a notion that I got -- was the State Health

20        Plan participating in what we, I think is known as the 40B

21        Program.

22                    The 40B Program, it's my understanding, is a

23        program that allows the, other governmental entities to get

24        the same drug prescription rates as the Federal Government

25        negotiates through CMS and EA.

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